GRAZIA PUZZANGARA,

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

Plaintiff,

Vv.

CONSUMER RECOVERY ASSOCIATES, | CIVIL ACTION NO. 2:1 1-cv-00569-PBT

L.L.C., a/k/a CRA a/k/a C & RA &
ASSOCIATES, a/k/a CR AND CC
ASSOCIATES, et al.,

Defendants.

 

 

OFFER OF JUDGMENT

DATE: June 22, 2011

TO: Grazia Puzzangara, (heremafter “Plaintiff’), by and through Plaintiff's attorney,

Brian T. Shaw, Law Offices of Dimitrios Kolovos, L.L.C.

Pursuant to Fed. R. Civ. P. 68, Defendant, Consumer Recovery Associates, L.L.C.,

(hereinafter “CRA”) hereby offers to allow judgment to be taken against it in favor of

Plaintiff, as follows:

1.

Judgment shall be entered against CRA in the amount of Two Thousand One
Hundred Twenty Five and No/100 Dollars ($2,125) for statutory and/or actual
damages incurred by Plaintiff as a result of CRA’s alleged violations of the Fair
Debt Collection Practices Act (FDCPA), 15 U.S.C. § 1692, et seq.;

In addition, the Judgment entered shall include an additional amount for Plaintiff's
reasonable costs and attorney’s fees accrued through the date of service of this
Offer of Judgment either: 1) as agreed to by counsel for the parties; or 2) in the
event counsel cannot agree, as determined by the Court upon application by
Plaintiff's counsel;

The Judgment entered in accordance with this Offer of Judgment is to be in total
settlement of any and all claims by Plaintiff against CRA, said judgment shall
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have no effect whatsoever except in settlement of those claims;

4. This Offer of Judgment is made solely for the purposes specified in Fed. R.
Civ. P. 68, and is not to be construed either as an admission that CRA is liable
in this action, or that Plaintiff has suffered any damage;

5. In accordance with Fed. R. Civ. P. 68, if this Offer of Judgment is not accepted by
Plaintiff within 14 days after service of the Offer, the Offer shall be deemed
withdrawn and evidence of this Offer will be inadmissible except in any
proceeding to recover costs. If this Offer of Judgment is not accepted by Plaintiff
and the judgment finally obtained by Plaintiff is not more favorable than this
Offer, the Plaintiff must pay Plaintiffs costs incurred after making this Offer, as
well as the costs of CRA as allowed by the law of this Circuit.

Grazia Puézangara

ACCEPTED: f UAL Gung... fr.

DATE: o~22-

Respectfully submitted,

 

 

CERTIFICATE OF SERVICE
/s/Aaron R. Easley

| hereby certify thay @ copy of the above Aaron R. Easley, Esq. (73683)
é oregoing has been forwarded to a : :
counsel of record ____ by hand; by Sessions, Fishman, Nathan & Israel, L.L.C.
ECF/CM; ___ by fax; XXX by e-mail; 200 Route 31 North, Suite 203
__. by FedEx; by Placing a copy of Flemington, NJ 08822-5736
same in the U.S. Mail, postage prepai . 1.
this 17. day of Nine Telephone: (908) 751-5940
O11l. me Facsimile: (908) 751-5944

E-mail: aecasley@sessions-law.biz
Attorneys for Defendant,

/s/ Aaron R. Easley :
Consumer Recovery Associates, L.L.C.

Attorney
